                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

UNITED STATES OF AMERICA,                            )
          Respondent,                                )
v.                                                   )       No. 2:12-CR-98(04)
                                                     )
MARK WALLACE CRABLE, JR.,                            )
         Petitioner.                                 )

                               MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s motions for a reduction of

sentence, [Docs. 536, 547]. The defendant requests a reduction in sentence pursuant to 18 U.S.C.

§ 3582(c)(2) and USSG § 1B1.10 as amended by Amendments 780 and 782 to the United States

Sentencing Guidelines. The United States has responded and acknowledges the defendant is

eligible for a reduction in sentence but defers to the Court’s discretion whether and to what extent

to reduce defendant’s sentence, [Doc. 550]. The defendant also filed a motion for the Court to

resolve the pending motions for sentence reduction. [Doc. 583]. The motion for resolution, [Doc.

583], is GRANTED. The motions for sentence reduction, [Doc. 536, 547], will be GRANTED IN

PART.

        The defendant was convicted of participating in a conspiracy to manufacture at least 5

grams but less than 50 grams of methamphetamine, 21 U.S.C. §§ 846 and 841(b)(1)(B). The

defendant was held accountable for 51 grams of pseudoephedrine, equating to a marijuana

equivalent of 510 kilograms of marijuana. This resulted in a base offense level of 28. The base

offense level was decreased by three levels pursuant to USSG § 3E1.1(a) & (b) (acceptance of

responsibility), resulting in a total offense level of 25. The defendant’s criminal history category

was V, resulting in an advisory guideline range of 100 months to 125 months. The United States

filed a motion for downward departure pursuant to USSG § 5K1.1, which the Court granted and


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sentenced the defendant to 94 months’ imprisonment, a 6-percent reduction from the bottom of

the defendant’s guideline range.

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

imprisonment that has been imposed on a defendant “who has been sentenced to a term of

imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.”               18 U.S.C. §

3582(c)(2).    Section 1B1.10 identifies the guideline amendments that may be applied

retroactively, and sets out the factors for deciding a sentence reduction motion under § 3582(c).

The Supreme Court has made clear that § 3582 does not require a sentencing or resentencing

proceeding, but gives courts the power to reduce an otherwise final sentence under circumstances

established by the Sentencing Commission. Dillon v. United States, 560 U.S. 817 (2010); United

States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010); USSG § 1B1.10, cmt. background (noting that

a reduction under § 1B1.10 is discretionary and “does not entitle a defendant to a reduced term of

imprisonment as a matter of right”).

       Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

the defendant is eligible for a sentence reduction. If he is, the court must then consider whether,

in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.



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Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir.

2013). In exercising its discretion, the court is required to consider public safety factors and is

permitted to consider post-sentencing conduct in deciding whether a reduction in the defendant’s

term of imprisonment is warranted. USSG § 1B1.10, cmt. (n. 1(B)(ii)-(iii)). Thus, the district

court is required to consider both the § 3553(a) factors and “the nature and seriousness of the

danger to any person or the community that may be posed by a reduction in defendant’s term of

imprisonment.” Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, cmt. n. 1(B)(ii)).

       One other factor is relevant to the instant motion. Ordinarily, a defendant’s sentence may

not be reduced to a term “less than the minimum of the amended guideline range.” USSG §

1B1.10(b)(2)(A).   But where, as here, the defendant previously received a below-guideline

sentence “pursuant to a government motion to reflect the defendant’s substantial assistance to

authorities,” the Court has authority to grant a reduction “comparably less than the amended

guideline range.” USSG § 1B1.10(b)(2)(B). It is perfectly logical that the extent of the reduction

should be determined based on the extent of assistance.

       Based on the USSG amendments, the defendant’s amended base offense level is 26. This

base offense level is decreased by three levels pursuant to USSG § 3E1.1(a) & (b) (acceptance of

responsibility), resulting in an amended total offense level of 23.      An offense level of 23

combined with a criminal history category of V results in an amended guideline range of 84 to

105 months’ imprisonment. The defendant requests an amended sentence of 79 months, 6-

percent below the bottom of the amended guideline range.

       The Court agrees with the defendant’s calculations under the Amendments. However, the

Court also must consider the defendant’s post-sentencing conduct. Especially concerning are the

defendant’s three disciplinary sanctions that occurred in January and July of 2015 while the



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defendant’s motion for sentence reduction was pending. The defendant was sanctioned for

fighting, exchanging money for unspecified contraband, and giving or accepting money without

authorization.   Additionally, the Court notes that the defendant’s enrollment in the Non-

Residential Drug Treatment Program was discontinued and that the defendant either failed or

withdrew from the Residential Drug Treatment Program. This is particularly concerning given

that the defendant is incarcerated for participating in a drug conspiracy, reported a serious

substance abuse problem, and indicated at the time of sentencing a desire to participate in these

programs. The defendant’s disciplinary sanctions and failure to participate in the drug programs

indicate that the defendant is not taking needed steps to prepare for release. However, the Court

will in an exercise of its discretion grant some reduction in his matter so that the defendant may

receive some benefit from the applicable amendments. Therefore, the defendant’s motion is

GRANTED IN PART, and his sentence is reduced to a term of 84 months, the bottom of the

amended guideline range.

       ENTER:



                                                                    s/J. RONNIE GREER
                                                               UNITED STATES DISTRICT JUDGE




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